      Case 2:13-cv-00193 Document 738 Filed on 11/17/14 in TXSD Page 1 of 3




                      UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF TEXAS
                         CORPUS CHRISTI DIVISION

MARC VEASEY, et al,                  §
                                     §
             Plaintiffs,             §
VS.                                  §       CIVIL ACTION NO. 2:13-CV-00193
                                     §
RICK PERRY, et al,                   §
                                     §
             Defendants.             §

          DEFENDANTS’ NOTICE OF FILING OF TRIAL EXHIBITS

        Defendants submit this Notice of Filing of Trial Exhibits (DEF0256 –

DEF0290). An index of Defendants’ trial exhibits is attached as Exhibit 1 to ECF

Docket No. 681.

Dated: November 17, 2014




                                         1
Case 2:13-cv-00193 Document 738 Filed on 11/17/14 in TXSD Page 2 of 3




                               Respectfully submitted,

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                                 2
    Case 2:13-cv-00193 Document 738 Filed on 11/17/14 in TXSD Page 3 of 3




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                         CERTIFICATE OF SERVICE


       I hereby certify that on November 17, 2014, a true and correct copy of the
foregoing document was served via the Court’s ECF system to all counsel of record.




                                     /s/ John B. Scott
                                     JOHN B. SCOTT




                                        3
